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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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     TRACY ANDERSON MIND AND                    Case No. 2:22-cv-04735-PSG-E
12   BODY, LLC, a Delaware limited liability
     company; and T.A. STUDIO NEW               Hon. Philip S. Gutierrez
13   YORK LLC, a California limited liability
     company,                                   JUDGMENT IN FAVOR OF
14                                              DEFENDANTS
                         Plaintiffs,
15
           v.                                   Action Filed:        July 11, 2022
16                                              FAC Filed:           Sept. 13, 2022
     MEGAN ROUP, an individual; and THE         Trial Date:          Nov. 14, 2024
17   SCULPT SOCIETY, LLC, a California
     limited liability company,
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                         Defendants.
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                      JUDGMENT IN FAVOR OF DEFENDANTS
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 1                                      JUDGMENT
 2         The Court has received, reviewed, and considered Plaintiffs Tracy
 3   Anderson Mind and Body, LLC (“TAMB”) and T.A. Studio New York LLC and
 4   Defendants Megan Roup and The Sculpt Society, LLC’s Joint Stipulation For
 5   Dismissal with Prejudice of Contract Claim and Request for Entry of Final
 6   Judgment (the “Stipulation”).
 7         NOW THEREFORE, for good cause shown, the Court hereby GRANTS
 8   the Stipulation in its entirety. The Court finds that Plaintiffs’ First Amended
 9   Complaint (Dkt. 12)—including the claims for (1) Federal Copyright
10   Infringement, 17 U.S.C. §§ 106, 501 (“Copyright Claim”); (2) violation of
11   Lanham Act, 15 U.S.C. § 1125(a) (“Lanham Act Claim”); (3) breach of contract
12   (“Contract Claim”); and (4) Violation of Unfair Competition Law, Cal. Bus. &
13   Prof. Code § 17200, et seq. (“Unfair Competition Claim”) therein—is hereby
14   DISMISSED WITH PREJUDICE.
15         It is further ORDERED, ADJUDGED AND DECREED that:
16        1.     The Contract Claim is DISMISSED WITH PREJUDICE per separate
17   agreement of the Parties.
18        2.     JUDGMENT IS ENTERED AGAINST PLAINTIFFS AND IN
19   FAVOR OF EACH OF THE DEFENDANTS as to the Copyright Claim, Lanham
20   Act claim, and Unfair Competition Claim
21         3.    Plaintiffs reserve the right to appeal this Final Judgment only as to
22   TAMB’s Copyright Claim and will not challenge the disposition of the other
23   claims.
24        4.     The Court shall maintain jurisdiction over the Parties to enforce any
25   terms of the Parties’ separate agreement, as may become necessary.
26        5.     There being no just reason for delay, the Court, in the interests of
27        ///
28        ///
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                      [JUDGMENT IN FAVOR OF DEFENDANTS
Case 2:22-cv-04735-PSG-E     Document 104 Filed 10/17/24       Page 3 of 3 Page ID
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 1    justice, expressly directs the Clerk of the Court to enter this Judgment, and hereby
 2    decrees that, upon entry, it shall be deemed a Final Judgment.
 3
 4         IT IS SO ORDERED AND ADJUDGED.
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 6   Dated: October 17, 2024
 7                                   _______________________________________
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 8                                   Ho
                                      on. Philip
                                     Hon. Philip S. Gutierrez
                                     United States District Judge
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